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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 0:24-cv-61138-AHS
 GARFIELD SPENCE,

                Plaintiff,

 vs.

 BOULEVARD CENTER LLC.

                Defendant(s).
                                                       /

                             NOTICE OF SETTLEMENT IN PRINCIPLE

        Plaintiff, through the undersigned attorney, hereby gives notice to this Honorable Court

 that all parties have reached an amicable resolution of this dispute. Thus, Plaintiff respectfully

 requests for all deadlines in this case to be tolled while the parties finalize their agreement and

 move to dismiss this matter within thirty (30) days of the filing of this Notice of Settlement.

        Dated this 6th day of August 2024.


 Respectfully Submitted,

                                                       /s/ Alberto R. Leal.
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                                                       Attorney for Plaintiff
